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                                                                                        FU            D
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS                        21Nov-
                                    AUSTIN DIVISION
                                                                                                 PH     357

 GLORIA NEUMAN AND                                 §
 MARK NEUMAN,                                      §
                PLAINTIFFS,                        §
                                                   §
 V.                                                §
                                                   §
 THE BANK OF NEW YORK MELLON,                      §
 FORMERLY KNOWN AS BANK OF NEW                     §
 YORK, AS SUCESSOR TO JPMORGAN                     §          CAUSE NO. 1:21-CV-782-LY
 CHASE BANK, N.A. AS INDENTURE                     §
 TRUSTEE, ON BEHALF OF THE                         §
 HOLDERS OF THE TER WIN                            §
 MORTGAGE TRUST 2006-6, ASSET-                     §
 BACKED SECURITIES, SERIES 2006-6                  §
 AND SPECIALIZED LOAN SERVICING                    §
 LLC,
                   DEFENDANTS.

                                   ORDER CLOSING CASE

       Before the court is the above-referenced cause. On November 3, 2021, the parties filed a

Stipulation of Dismissal (Doc. #3) pursuant to Federal Rule of Civil Procedure 41 (a)( 1 )(A)(ii). As

nothing further remains to be resolved,

       IT IS ORDERED that the case is hereby CLOSED.

       SIGNED this                 day of November, 2021.




                                              UNI ED STATES DISTRICT JUDGE
